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 9                                 IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                         Case No.: 1:18-CR-00235-LJO-SKO
12
                 Plaintiff,                            JOINT MOTION FOR THE DEPOSIT OF
13                            v.                       FUNDS INTO THE COURT’S DEPOSIT FUND;
                                                       AND ORDER THEREON
14   ANA TERESA GORSHE AND RANDAL
     LOUIS GORSHE,                                     [No Hearing Requested]
15

16               Defendants.

17

18          Plaintiff United States of America and defendants Ana Teresa Gorshe and Randal Louis Gorshe,
19 through their authorized representatives (“Movants”), hereby move for an order authorizing Defendants

20 to deposit a total of $250,000.00 ($125,000 from Ana Teresa Gorshe and $125,000 from Randal Louis

21 Gorshe) into the court’s deposit fund pending the outcome of this criminal prosecution. This Motion is

22 based on the following grounds:

23          1.     On October 19, 2018, Defendants entered into plea agreement pleading guilty to one
24 count of Making and Subscribing a False Tax Return, in violation of 26 U.S.C. § 7206(1). ECF Nos. 4

25 and 5.

26          2.     On January 28, 2019, Defendants waived indictment. ECF Nos. 12 and 13.
27          3.     Pursuant to the plea agreements, restitution is estimated to be between $300,000.00 and
28 $500,000.00, Defendants agrees to pay any fine imposed by the Court up to the statutory maximum for



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 1 Defendants’ offense, and Defendants agrees to pay a special assessment of $100.00. ECF No. 4 and 5.

 2            4.     Defendants presently have in their possession $250,000.00 with which to partially satisfy

 3 restitution, fines, and the special assessment that they are prepared to turn over to the Clerk of the Court.

 4            5.     Sentencing is set for January 13, 2020. ECF No. 22.

 5            The Movants thus agree that:

 6            1.     Defendants shall pay the $250,000.00 in partial satisfaction of restitution, fines (if any),

 7 and the special assessment (“Deposit”) by January 9, 2020, to the Clerk of the Court as specified in the

 8 accompanying order. The Deposit shall remain in the Court’s deposit fund pending Defendant’s

 9 sentencing in this case, or upon further order of the Court.

10            2.     The Deposit shall, upon sentencing, be applied towards the restitution in the order stated

11 in the Schedule of Payments section of the Judgment in a Criminal Case.

12                                                          Respectfully submitted,

13 FOR THE UNITED STATES:                                   McGREGOR W. SCOTT

14                                                          United States Attorney

15 Dated:

16                                                  By:
                                                            HENRY Z. CARBAJAL III
17                                                          ROBIN TUBESING
                                                            Assistant United States Attorneys
18

19 FOR DEFENDANT ANA TERESA GORSHE:

20 Dated:
                                                            ANA TERESA GORSHE
21
     FOR DEFENDANT RANDAL LOUIS GORSHE:
22
     Dated:
23                                                          RANDAL LOUIS GORSHE
24
     APPROVED AS TO FORM AND CONTENT:
25
     Dated:                                                _____________________________________
26                                                         MARC XAVIER CARLOS
                                                           Attorney for Defendant
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 1                                                  ORDER

 2          The Court, having reviewed the court files and the Movants’ Joint Motion for Deposit of Funds

 3 into the Court’s Deposit Fund, and good cause appearing therefrom, hereby GRANTS the Motion.

 4 Accordingly, IT IS ORDERED that:

 5          1.      Defendants Ana Teresa Gorshe and Randal Louis Gorshe shall deliver a cashier’s or

 6 certified check to the Clerk of Court by January 9, 2020, in the amount of $250,000.00, representing

 7 partial payment of restitution, fines (if any), and the special assessment.

 8          2.      Defendants shall make the check payable to the Clerk of Court and, in the note section of

 9 the check, state the case name and number (US v. Gorshe, Case No. 1:18-cr-00235-LJO-SKO).

10 Defendants shall deliver the check to the Clerk of the Court, Robert E. Coyle Federal Courthouse, 2500

11 Tulare Street, Room 1501, Fresno, CA 93721.

12          3.      Upon receipt, the Clerk shall promptly DEPOSIT Defendants’ $250,000.00 payment into

13 the Court’s deposit fund.

14          4.      Once the imposed judgment is entered and docketed, the Deposit shall then be transferred

15 to the Defendants’ criminal case.

16          5.      Unless the Court orders otherwise, the Deposit shall, upon transferring the Deposit, be

17 applied towards the assessment, fines, and restitution in the order stated in the Schedule of Payments

18 section of the Judgment in a Criminal Case. Fifty percent of the Deposit shall be applied towards Ana

19 Teresa Gorshe’s restitution, fines, and assessment ($125,000.00) and fifty percent of the Deposit shall be

20 applied towards Randal Louis Gorshe’s restitution, fines, and assessment ($125,000.00).

21
     IT IS SO ORDERED.
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23      Dated:     January 6, 2020                           /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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